                         Case 3:23-cv-03417-VC Document 199-1 Filed 10/03/24 Page 1 of 4



                    1   COOLEY LLP
                        BOBBY GHAJAR (198719)
                    2   (bghajar@cooley.com)
                        COLETTE GHAZARIAN (322235)
                    3   (cghazarian@cooley.com)
                        1333 2nd Street, Suite 400
                    4   Santa Monica, California 90401
                        Telephone:     (310) 883-6400
                    5
                        MARK WEINSTEIN (193043)
                    6   (mweinstein@cooley.com)
                        KATHLEEN HARTNETT (314267)
                    7   (khartnett@cooley.com)
                        JUDD LAUTER (290945)
                    8   (jlauter@cooley.com)
                        Elizabeth L. Stameshkin (260865)
                    9   (lstameshkin@cooley.com)
                        3175 Hanover Street
                   10   Palo Alto, CA 94304-1130
                        Telephone:     (650) 843-5000
                   11   LEX LUMINA PLLC
                        MARK A. LEMLEY (155830)
                   12   (mlemley@lex-lumina.com)
                        745 Fifth Avenue, Suite 500
                   13   New York, NY 10151
                        Telephone: (646) 898-2055
                   14
                        CLEARY GOTTLIEB STEEN & HAMILTON LLP
                   15   ANGELA L. DUNNING (212047)
                        (adunning@cgsh.com)
                   16   1841 Page Mill Road, Suite 250
                        Palo Alto, CA 94304
                   17   Telephone: (650) 815-4131
                        Counsel for Defendant Meta Platforms, Inc.
                   18

                   19                             UNITED STATES DISTRICT COURT

                   20                          NORTHERN DISTRICT OF CALIFORNIA

                   21                                  SAN FRANCISCO DIVISION

                   22   RICHARD KADREY, et al.,                       Case No. 3:23-cv-03417-VC-TSH

                   23     Individual and Representative Plaintiffs,   DECLARATION OF KATHLEEN HARTNETT

                   24        v.
                                                                      Trial Date: None
                   25   META PLATFORMS, INC., a Delaware              Date Action Filed: July 7, 2023
                        corporation;
                   26
                                                       Defendant.
                   27

                   28
COOLEY LLP
ATTORNEYS AT LAW
                                                                               DECLARATION OF KATHLEEN HARTNETT
                                                                                            3:23-CV-03417-VC-TSH
                          Case 3:23-cv-03417-VC Document 199-1 Filed 10/03/24 Page 2 of 4



                    1          I, Kathleen Hartnett, declare:
                    2          1.      I am a Partner at the law firm of Cooley LLP and counsel to Meta Platforms, Inc. in
                    3   the above-referenced matter. I have personal knowledge of the facts contained in this Declaration
                    4   and, if called as a witness, could competently testify to them under oath.
                    5          2.      Attached as Exhibit 1 is a true and correct copy of a letter dated September 27, 2024,
                    6   from myself to Plaintiffs’ counsel of record, regarding Plaintiffs’ request to modify the Court-
                    7   ordered case schedule, and Exhibits A and B to this letter.
                    8          3.      Attached as Exhibit 2 is a true and correct copy of an email dated September 27,
                    9   2024, from Maxwell Pritt to Cole Poppell and myself.
                   10          4.      I understand that Meta has produced source code, including change history and
                   11   comments, that was used to create the Llama models. This source code was collected earlier this
                   12   year, after the release of Llama 1 and 2, and after much of the pre-training for Llama 3 had already
                   13   occurred. Meta made this code available for review on May 10, 2024. Plaintiffs first sought to
                   14   review this code in August of 2024. I also understand that, as a courtesy, Meta is in the process of
                   15   supplementing this source code production to account for the time between collection and the
                   16   present. Plaintiffs raise a number of vague allegations about this code, including that it is a “hodge
                   17   podge of code and scripts,” when Meta in fact produced specific source code repositories retaining
                   18   the file structure and organization of the repositories used at Meta. Plaintiffs have not met and
                   19   conferred regarding any concern regarding a “hodge podge” of “code and scripts” or code that
                   20   relates to what they term “how LLMs handle or filter copyrighted material.”
                   21          5.      I understand that Meta has provided a list of and produced all pretraining and post
                   22   training data (i.e., data for fine-tuning and alignment) for Llama 1 and Llama 2, much of which was
                   23   also used for Llama 3. Meta has also supplemented its production with Llama 3 training data
                   24   relating to books (i.e., the “Libgen” dataset) pursuant to Rule 26. Collection of this training data
                   25   involves numerous technical hurdles, and the training data used to train these models comprises
                   26   terabytes of irrelevant data (e.g., data not relating to books). The parties held a meet and confer on
                   27   August 29, 2024, where they resolved that Meta need not produce additional Llama 3 data beyond
                   28   the “Libgen” dataset.
COOLEY LLP
ATTORNEYS AT LAW
                                                                                        DECLARATION OF KATHLEEN HARTNETT
                                                                          1                          3:23-CV-03417-VC-TSH
                          Case 3:23-cv-03417-VC Document 199-1 Filed 10/03/24 Page 3 of 4



                    1          6.       I understand that there was a typographical error in the September 10, 2024, cover
                    2   letter accompanying Meta’s production of META_KADREY_DATA_005, which completed
                    3   Meta’s production of the Libgen dataset. Plaintiffs referred to META_KADREY_DATA_005 in
                    4   their Rule 30(b)(6) notice served just six days after Plaintiffs received the hard drive containing
                    5   META_KADREY_DATA_005.
                    6          7.       Plaintiffs state in their motion that Meta has not produced “documents that Meta
                    7   obtained from the totality of shadow libraries and online sources.” Dkt. 193 at 4. I understand that
                    8   Meta performed a search for communications with certain online sources pursuant to Plaintiffs’
                    9   discovery requests, and, as noted above, has produced relevant data used to train the Llama 1, 2,
                   10   and 3 models.
                   11          8.       I understand that Meta has also provided an interrogatory response and non-
                   12   privileged documents that relate to its mitigation work to prevent training data memorization.
                   13          9.       I understand that Meta has produced documents relating to the “Libgen” dataset and,
                   14   as noted above, the Libgen data used to train the Llama 3 model.
                   15          10.      On September 30, 2024, Meta responded to Plaintiffs’ requests for production
                   16   relating to licensing, including Request for Production No. 77.
                   17          11.      On September 20, 2024, Plaintiffs informed Meta that they intended to take the
                   18   deposition of Dr. Yann LeCun in place of Ms. Amanda Kallet (after previously confirming Ms.
                   19   Kallet’s deposition for September 27, 2024).
                   20          12.      Meta and Plaintiffs’ counsel have met and conferred regarding concerns around both
                   21   parties’ privilege logs, and Meta plans to provide an updated privilege log to Plaintiffs on Monday,
                   22   October 7, 2024.
                   23          13.      At the time that Plaintiffs filed their motion, Meta had not yet responded to
                   24   Plaintiffs’ Interrogatories regarding fair use and advice of counsel, as those interrogatory responses
                   25   were due that day, September 30, 2024. Meta timely served its responses on September 30, 2024.
                   26          14.      I understand that Meta has produced documents responsive to requests for
                   27   production served by Plaintiffs for financial information relating to the Llama models. Meta has
                   28   also identified a witness on this topic, Amrish Acharya, Meta’s Senior Director of Finance.
COOLEY LLP
ATTORNEYS AT LAW
                                                                                          DECLARATION OF KATHLEEN HARTNETT
                                                                          2                            3:23-CV-03417-VC-TSH
                         Case 3:23-cv-03417-VC Document 199-1 Filed 10/03/24 Page 4 of 4



                    1          15.      I understand that Meta has produced non-privileged documents relating to its
                    2   decision to use the training data at issue in this case, as well as documents related to various
                    3   mitigation measures. Meta has also identified several witnesses with knowledge of the datasets
                    4   used by Meta.
                    5          16.      I understand that Meta has produced technical information and source code relating
                    6   to its released Llama models.
                    7          I declare under penalty of perjury that the foregoing is true and correct. Executed on this
                    8   3rd day of October at Oakland, CA.
                    9

                   10                                                        /s/ Kathleen Hartnett___
                                                                             Kathleen Hartnett
                   11

                   12

                   13

                   14

                   15

                   16

                   17

                   18

                   19

                   20

                   21

                   22

                   23

                   24

                   25

                   26

                   27

                   28
COOLEY LLP
ATTORNEYS AT LAW
                                                                                      DECLARATION OF KATHLEEN HARTNETT
                                                                         3                         3:23-CV-03417-VC-TSH
